Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 1of47 Page ID#:1

1) FRANK X. DIPOLITO (137157)

ROSS I. LANDAU (259260)

2| SWAIN & DIPOLITO LLP

879 W. 190% Street, Suite 305

3]| Gardena, California 90248
Telephone: (310) 715-1338

4| Facsimile: (310) 715-1404

E-mail: fdipolito@swaindipolito.com
5 rlandau@swaindipolito.com

6) Attorneys for Defendant,

STPW INC.
7
8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10

11| LOTTE GLOBAL LOGISTICS CO., LTD.
Korean corporation,

, a) Case No. 2:23-cv-3558

|
I
)
Plaintiff, ) NOTICE OF REMOVAL OF
}

12

13 CIVIL ACTION
VS . }

14

ONE WAY ONLY TRANS, INC.; STPW

15|) INC.; OMI TRUCK PARKING FACILITIES, )
INC.; and DOES 1] THROUGH 10, )
16]|| inclusive, )

 

17 Defendants. )

18

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20 TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

21) CENTRAL DISTRICT OF CALIFORNIA:
22
23 PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §8§ 1331,

24|/ 1337, 1441, and 1446, Defendant STPW INC. (hereinafter “STPW”)

25| hereby seeks to remove the above-entitled action from state court
26) to the United States District Court, Central District of

27| California, on the following grounds:

28) ///

 

Notice of Removal of Civil Action

 
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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 2of47 Page ID #:2

1. This action was originally filed on March 23, 2023, in
the Superior Court for the State of California, County of Los

Angeles, Case No. 23STCV06443.

2. On April 14, 20233, STPW was served for the first time

with the Summons and Complaint in this matter.

3. This action is civil in nature and was brought by
Plaintiff to recover damages for alleged loss of and/or damage to
Plaintiff’s goods during interstate motor carriage from San

Pedro, California, to Kingman, Arizona.

4, In the Complaint, Plaintiff alleges that STPW was at
all material times doing business as an interstate motor carrier
pursuant to the motor carrier authority provided by the Federal

Motor Carrier Safety Administrator.

5. In the Complaint, Plaintiff alleges a claim against
STPW for loss and damage to goods during interstate motor
carriage under the Carmack Amendment, 49 U.S.C. § 14701, et seq.,

which completely preempts state law claims.

 

6. By its Complaint, Plaintiff alleges damages of
$537,589.99.
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Notice of Removal of Civil Action

 
 

 

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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 3o0f47 Page ID#:3

7. Therefore, the district courts of the United States
have original jurisdiction of this civil action pursuant to 28
U.S.C. §§ 1331 and 1337 because this action arises under the laws
of the United States and, more specifically, under an Act of
Congress regulating interstate and/or international commerce, and

the amount in controversy exceeds $10,000.00

8. This case is removable pursuant to 28 U.S.C. § 1441 (a)
and (c), and the thirty day time period established by 28 U.S.C.
§ 1446(b), within which defendant is required to file this Notice

of Removal, has not yet expired.

9. STPW files herewith true and correct copies of the
Summons, Complaint, and all other process, pleadings, and orders
received by it in the state court action. (Attached hereto as

Exhibit “A%).

10. Concurrent with the filing of this Notice, STPW filed a
Notice of Removal of Case to Federal Court in the Superior Court
of the State of California for the County of Los Angeles.

(Attached hereto as Exhibit “B”).

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Notice of Removal of Civil Action

 
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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 4of47 Page ID #:4

WHEREFORE, STPW INC. requests that the captioned action
pending in the Superior Court of the State of California, County
of Los Angeles, be removed to this United States District Court
for the Central District of California, for the foregoing

reasons, and that all proceedings in the state court action be

 

discontinued.
DATED: May 4, 2023 SWAIN & DIPOLITO LLP
By: La LAAT
FRANK st DIP
atone ae a etendant,,
STPW INC.
- 4 -

 

Notice of Removal of Civil Action

 
Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 5of47 Page ID #:5

EXHIBIT A
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SUM-100
(CITACION JUDICIAL) | oto OE am
(AVISO AL DEMANDADO):

ONE WAY ONLY TRANS, INC.; STPW INC.; OMI TRUCK PARKING FACILITIES, INC.: and
DOES 1 THROUGH 10, inclusive,

YOU ARE BEING SUED BY PLAINTIFF:

{LO ESTA DEMANDANDO EL DEMANDANTE): |
LOTTE GLOBAL LOGISTICS CO., LTD., a Korean corporation

|
NOTICE TO DEFENDANT: |
}
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|

 

 

NOTICE! You have been sued, The court may decide against you without your being heard unless you respond within 30 days, Read the information
below.

| You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your writien response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www, courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. if you cannot pay the filing fee, ask the |
jcourt clerk for a fee waiver form, iF you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be laken without further warning from the court,

There are other legal requirements. You may want to call an attorney right away. If you do nat know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www. courtinfo,ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case, The court's lien must be paid before the court wil dismiss the case.
IAVISO! Lo han demandado. Si no Fesponde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea fa informacion a
continuacién.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta per escrito en esta
corte y hacer que se entregue una copia al demandants. Una carta o una llamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que pracesen su caso en fa corte, Es posible que haya un formutaria que usted pueda usar para su respuesta.
Puede encontrar estos formularios de fa corte ¥ és informacién en si Centro de Ayuda de fas Cortes de California (www.sucorts.ca.gov), en ia
biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar Ja cuota de presentacién, pida al secretario de la corte que
\fe dé un formulario de exencién de pago de cuotas, Sino presenta su respuesta a tiempo, puede perder ef caso por incumplimiento y ta corte le podra
iquitar su sueldo, dinero y bienes sin mas advertencia. |
| Hay otros requisitos legales. Es recomendable que lame a un abogado inmediatamente. Si no conose a un abogado, puede Hamar a un servicio de
jremisién @ abogados. Si no puede pagar a un abogado. es posible que cumpla con fos requisitos para obtener servicios legales gratuites de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de iucro en ef sitio web de California Legal Services,
| (wavw Jawhelpcalifornia. org}, en el Centro de Ayuda de las Cortes de California, {www.sucorte.ca.gov) o poniéndose en contacto con ja corte oe
|colegio de abogados locales, AVISO: Par ley, la corie tene derecho a reclamar las cuotas y los costes exentos por imponer un gravamen sobre

cualquier recuperecion de $10,000 6 mas de valor recibida mediante un acuerdo o ung concesién de arbitraje en un caso de derecho civil, Tiene que
lpegar e/ gravamen de la corte antes de que le corte pueda desechar a! caso.

 

The name and address of the court is: a,
(E! nombre y direccién de ja corte es): Los Angeles Superior Court |

4235 T CVO 443
111 North Hill Street, Los Angeles, CA 90012

 

 

 

 

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, fa direccién y ef nimero de teléfono de! abogado de! demandante, o del demandante que no tiene abogado, es):
Sook H, Lee, Law Offices of Sook H. Lee, 68565 N. MacArthur Bivd., Suite 225, Irving, TX 75039, Tel: 214-918-7434

: Clerk, by David W. Stayton, Executive Officer!Clerk of Gout , Deput
DATE: . yt puty
(Fecha) 0323/2023 (Secretario) __D. Williams - (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).

(SEAL NOTICE TO THE PERSON SERVED: You are served
~caentateites 1. [°°] as an individual defendant.
AN ABV, lg, 2. [_] as the person sued under the fictitious name of (specify):

 

Ra 2 3. x on behalf of (specify): S I 7 \ ah Me Co =

‘ under: CCP 416,10 (corporation) [_] CCP 416.60 (minor

I cop 416.20 (defunct corporation) f=} CCP 416.70 (conservatee)
{__] CCP 416.40 (association or partnership) ["_] CCP 416.90 (authorized person)
[__]} other (specify):

4, ["”] by personal delivery on (date):

  

 

 

Page 1 of 1

Form Adopted for Mandatory Use su MMO NS Code of Civi Procedure §§ 412.20, 468
Www, COUrtS.Ca.COF

Judicial Council of California
SUM-100 [Rev. July 1, 2009}

 

 

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Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Barbara Meiers

LAW OFFICES OF SOOK H, LEE
Sook H. Lee (SBN 162307)

6565 N. MacArthur Blvd., Suite 225
Irving, Texas 75039

Tel: 214-918-7431

Fax: 972-373-3229

E-mail: sook.lee@shllaw.net

Attorneys for Plaintiff
LOTTE GLOBAL LOGISTICS CO., LTD.

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES
STANLEY MOSK COURTHOUSE

LOTTE GLOBAL LOGISTICS CO., LTD., a
Korean corporation,

CaseNo.: PAST MmYOB442
UNLIMITED JURISDICTION

Plaintiff, COMPLAINT FOR DAMAGES

LOSS OF CARGO UNDER CARMACK
AMENDMENT; VIOLATION OF
FEDERAL STATUTES; NEGLIGENCE;
AND BREACH OF BAILMENT

VS.

ONE WAY ONLY TRANS, INC.; STPW
INC.; OMI TRUCK PARKING FACILITIES,
INC.; and DOES 1 THROUGH 10, inclusive,

Defendants.

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Plaintiff Lotte Global Logistics Co., Ltd. alleges:
I.
GENERAL ALLEGATIONS
1, Plaintiff Lotte Global Logistics Co., Ltd. (“LGL”) is a Korean corporation with its
principal place of business in Seoul, Korea, and provides logistics services in international trade.
Plaintiff brings this action on its own behalf and on behalf of all other parties having interests in
the Cargo.

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Complaint for Damages

 

 

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2. Lotte Global Logistics (North America) Inc. (“LGLNA”) is a Californid
corporation with its principal place of business in Irving, Texas, and, at all time relevant herein,
was acting as agent for the plaintiff LGL.

3. Plaintiff is informed and believes, and on that basis alleges, that defendant One
Way Only Trans, Inc. (“One Way Only”) is a California corporation with its principal place of
business in Arleta, California, and provides transportation services as an interstate motor carrier
pursuant to the motor carrier authority, given by the Federal Motor Carrier Safety Administrator
(“FMCSA”).

4. Plaintiff is informed and believes, and on that basis alleges, that defendant STPW
Inc. (“STPW”) is a California corporation with its principal place of business in Los Angeles,
California, and provides transportation services as an interstate motor carrier pursuant to the motor
carrier authority, given by the FMCSA.

5. Plaintiff is informed and believes, and on that basis alleges, that defendant OMI
Truck Parking Facilities, Inc. (“OMI”) is a California corporation with its principal place of
business in Chino Hills, California, and operates a truck/trailer parking facility in the City of
Commerce, California.

6. Plaintiff has no knowledge of the true names and capacities of defendants sued
herein as Does | through 10, inclusive, except that plaintiff is informed and believes, and on that
basis alleges, that the loss and damages sustained by plaintiff were proximately caused by
defendants’ breach of contract, breach of bailment agreement and negligence. Plaintiff therefore
sues these defendants by such fictitious names and plaintiff will amend this Complaint to allege
their true names and capacities when ascertained.

7. Plaintiff is informed and believes, and on that basis alleges that each of the Doe
defendants was, at all times herein mentioned, the agent, principal, servant, employees or
contractor for the other defendants.

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Complaint for Damages

 

 

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II.
FIRST CAUSE OF ACTION
(Loss of Cargo Under the Carmack Amendment
Against Defendants One Way Only and STPW)
8. Plaintiff realleges and incorporates by reference paragraphs 1 through 7 of this
Complaint.

9. On or about November 6, 2022, LGLNA, acting as agent for the plaintiff, issued a
delivery order to defendant One Way Only to pick up Container No. CGMU5420924, containing
128 packages of Lithium Ion Batteries (“Cargo”), at Fenix Marine Terminal in San Pedro,
California and deliver it to Nextera Energy Constructors at Kingman, Arizona by truck.

10. The Cargo had been transported from Busan, Korea to the Port of Los Angeles,
California, pursuant to Bill of Lading No. SEL1441122, issued by CMA CGM, in which Samsung
SDI Co., Ltd (“Samsung SDI”) was designated as the shipper and Nextear Energy Constructors as
the consignee. Plaintiff was hired by Samsung SDI to provide the transportation and other related
services for the Cargo from Samsung SDI’s facilities in Korea to the consignee’s warehouse in
Kingman, Arizona.

11. On November 11, 2022, defendant One Way Truck acknowledged and accepted the
delivery order, and agreed to transport the Cargo from San Pedro, California to Kingman, Arizona
and deliver it to the consignee in the same good order and condition as when received.

12. On or about November 16, 2022, STPW, in lieu of One Way Only, picked up the
Cargo from the marine terminal in San Pedro, and dropped the Cargo at OMI’s truck parking
facility, located in the City of Commerce, California. On November 17, 2022, the Cargo was
stolen and lost while it was stored at OMI’s facility.

13. Defendants One Way Only and STPW failed to carry and deliver the Cargo to the
designated party and place in the same good order and condition as when received. On the
contrary, the Cargo was stolen and lost before it was delivered to Nextera Energy Constructors.
Samsung SDI had to send a replacement Cargo to Nextera Energy Constuctors at the expenses of

the plaintiff.

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Complaint for Damages

 

 

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Case 2;23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 10 of 47 Page ID #:10

1 14, As a result of the defendants’ failure to properly carry and deliver the Cargo,

2 || plaintiff and those on whose behalf it sues have sustained damages in the total sum of

3 || $537,589.99, including $533, 157.12 for value of the stolen Cargo and $4,432.87 for the expenses
4 || for transporting the replacement Cargo, no part of which has been paid by the defendants despite
5 || numerous demands therefore.

6 15. Plaintiff timely filed its notice of claim with the defendants for the loss of the

7 || Cargo, but the defendants have refused to pay any of the damages sustained by the plaintiff.

 

8 I.
5 SECOND CAUSE OF ACTION
10 (Violation of 49 U.S.C. §§13902, 14707 and 14916
11 against Defendants One Way Only and STPW)
12 16. _ Plaintiff realleges and incorporates by reference paragraphs | through 15 of this

13 || Complaint.

14 17. Both One Way Only and STPW are and, at all time relevant, were registered with
15 || the FMCSA as motor carriers to provide transportation pursuant to 49 U.S.C. §13902. However,
16 || they were not registered as property broker or freight forwarder.

17 18. Under 49 U.S.C. §13902(a)(6) and (i)(2), a motor carrier may not arrange

18 |/ transportation services unless the motor carrier has registered as a property broker or freight

19 || forwarder.

20 19. Under 49 U.S.C. §§14707 and 14916, any person who knowingly authorizes,

21 || consents to, or permits, directly or indirectly, either alone or in conjunction with any other person,
22 || 1s “liable to the injured party for all valid claims incurred without regard to amount” if he provides
23 || interstate brokerage services without the authority.

24 20. Defendants One Way Only and STPW knowingly violated the above mentioned

25 || federal statutes when defendant One Way Only hired defendant STPW, another motor carrier, to
26 || transport the Cargo from San Pedro, California to Kingman, Arizona.

27 21. Asa direct and proximate result of the violation of the federal statute by the

28 || defendants One Way Only and STPW, plaintiff and those on whose behalf it sues have sustained

 

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Complaint for Damages

 

 

 
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1 || damages in the total sum of $537,589.99, no part of which has been paid by defendant One Way

2 || Only or STPW despite demands therefore.

3 22. 49U.S.C. §14707 authorizes the person who was injured by the transportation or

4 || services by a motor carrier, freight forwarder or broker in clear violation of section 13901-13904

5 || to bring a civil action. The statute also authorizes the court to award a reasonable attorney’s fees to

6 || the prevailing party.

 

7 IV.
8 THIRD CAUSE OF ACTION
9 (Negligence Against All Defendants)
10 23. Plaintiff realleges and incorporates by reference paragraphs 1 through 22 of this

11 || Complaint.

12 24. On or about November 16, 2022, defendants One Way Only and STPW undertook
13 || to arrange for transporting or transport the Cargo from San Pedro, California to Kingman,

14 || Arizona. On the same date, defendant OMI undertook to store the Cargo in its facility for safe

15 || keeping.

16 25. All defendants failed to exercise due diligence in carrying, handling, arranging for,
17 || or storing the Cargo, thereby causing the Cargo to be stolen before it was delivered to the final

18 || destination.

19 26. As adirect and proximate result of the negligent acts and omission of the

20 || defendants, and each of them, and their agents, plaintiff and those on whose behalf it sues have
21 |) been damaged damages in the sum of $537,589.99, no part of which has been paid by defendants

22 || despite demands therefore.

 

23 V.

24 FOURTH CAUSE OF ACTION

25 (Breach of Bailment Against All Defendants)

26 27. Plaintiff realleges and incorporates by reference paragraphs 1 through 26 of this

27 || Complaint.

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Complaint for Damages

 

 

 
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23-CV-03558-ODW-AS Document1 Filed 05/10/23 Page 12 o0f47 Page ID #:12

28. The loss of the Cargo and resulting damages were directly and proximately caused
by the acts and omissions of the defendants, and each of them. in violation of their statutory and
common law duties and obligations as bailees to safely care for the Cargo while the Cargo was in
their custody and care and until the Cargo was properly delivered to authorized parties.

29. Asa direct and proximate result of the breach of bailment by the defendants,
plaintiff and those on whose behalf it sues have been damaged in the total sum of $537,589.99, no
part of which has been paid by defendants despite demands therefore.

WHEREFORE, plaintiff Lotte Global Logistics Co., Ltd. prays for judgment:

I, For damages in the principal sum of $537,589.99 against the defendants, jointly

and severally;

2. For a reasonable attorneys’ fees against One Way Only and STPW, jointly and

severally, according to proof:

 

3. For prejudgment interest according to proof;
4, For the cost of suit herein: and
5, For such other and further relief as this Court deems just and proper.
Dated: March 22, 2023 LAW OFFICES OF SOOK H. LEE
7 “Sak H.Lee

Attomeys for Plaintiff Lotte
Global Logistics Co., Ltd.

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Complaint for Damages

 

 

 

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Page 13 of 47 Page ID #:13

 

 

 

 

 

 

 

 

 

TTGRNEY OR P. THO ORNEY eS cme
|A ¥ ARTY Wi LIT ATT! (Name, State Bar number, and address):
‘Sook H. Lee (Bar No.: 162307) FOR COURT USE ONLY
Law Offices of Sook H. Lee, 6565 N. MacArthur Bivd., Suite 225, Irving, TX 75039,
TELEPHONE NO. 214-918-7431 FAX NG. (Optional):
E-MAIL ADDRESS: sook.lee@shilaw.net
ATTORNEY FOR (Name): Plaintiff Lotte Global Logistics Co., Ltd.
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
STREET ADDRESS: 1441 North Hill Street
MAILING ADDRESS: 111 North Hill Street
CITY AND ZIP CODE: Los Angeles, CA 90012
| __BRANCHNAME: Stanley Mosk Courthouse
CASE NAME:
Lotte Global Logistics Co, Lid. v. One Way Only Trans, Inc. et al.
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
[=] Untimited [7] Limited (] Counter (7) Joinder 23ST cvoOo6443
(Amount (Amount .
demanded demanded is Filed with first appearance by defendant [jupce.
Cal. Rules of Court, rule 3.402) :
exceeds $25,000)  $26,000orless)) OEPT:
items 1-6 below must be completed (see instructions on page 2).

 

1 Check one box below for the case type that best describes this case:

Auto Tort Contract

((_] Auto (22) (_} Breach of contractiwarranty (06)
[_} Uninsured motorist (46) {__] Rule 3.740 collections (09)

Other PUPOAWD (Personal Injury/Property Other collections (09)
Damage/Wrongful Death) Tort _ Insurance coverage (18)

["] Asbestos (04) Other 37
[__] Product liability (24) to fontraet (37)

[_]} Medical malpractice (45) 1 ene someirvinverse
[7] Other PuPDAWO (23) condemnation (14)
Non-Pi/PDAWD (Other) Tort [__] Wrongful eviction (33)
[___] Business torvunfair business practice (07) [___]| Other real property (26)
£__] Civil rights (08) Unlawful Detainer

[_] Defamation (13) (C_] Commercial (34)

[7] Fraud (16) [__] Residential (32)

[[_] intellectual property (19) [7] Drugs (38)

[__} Professional negligence (25) Judicial Review

Other non-P/PDAND tort (35) [__] Asset forfeiture (05)
Employment
(__] Wrongful termination (36)

{" 7] Other employment (15)

[] Writ of mandate (02)
(_] Other judicial review (39)

 

[_] Petition re: arbitration award (11)

Provisionally Comptex Civil Litigation
(Cal. Rutes of Court, rules 3.400-3.403)

[__] Antitrust/Trade regulation (03)

[__} Construction defect (10)

[-__] Mass tort (40)

[_] Securities litigation (28)

[__] EnvironmentaWToxic tort (30)

[-] Insurance coverage claims arising from the
above listed provisionally complex case
types (41)

Enforcement of Judgment

[77] Enforcement of judgment (20)
Miscelianecus Clvit Complaint

[_] RICO (27)

[—"] Other complaint (not specified above) (42)
Miscetianeous Civil Petition

[-—} Partnership and corporate govemance (21)
[7] Other petition (not specified above) (43)

 

 

This case [_] is ([] isnot
factors requiring exceptional judicial management:
a. [] Large number of separately represented parties
b. [_] Extensive mation practice raising difficult or novel

complex under rule 3.400 of the California Rules of Court. if the case is complex, mark the

d. ([(_] Large number of witnesses

e. [__] Coordination with related actions pending in one or more
courts in other counties, states, or countries, or in a federal
court

f. Substantial postjudgment judicial supervision

3. Remedies sought (check ail that apply): a. [-_] monetary b. nonmonetary; declaratory or injunctive relief c. [_] punitive

4. Number of causes of action (specify): 4 (Lass of Cargo under Carmack Amendment, Statutory Viotations, Negligence, Bailment)

5. Thiscase[__]is [+ ]isnot a class action suit.

6. if there are any known related cases, file and serve a notice of related case. {Yo

Date: March 22. 2023 i»

-_
NOTICE

Sook H. Lee
* Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.
* File this cover sheet in addition to any cover sheet required by local court rule.

* If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on ail

issues that will be time-consuming to resolve
c. ["_] Substantial amount of documentary evidence

fay use for 15

(TYPE OR PRINT NAME) ™'_ (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

 

 

 

other parties to the action or proceeding. . .
* Unless this is a collections case under rufe 3.740 or a complex case, this cover sheet will be used for statistical purposes only. sett
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CH-O10 [Rev. September 1, 2021}

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INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for exampie, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
Statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. if the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action,
To assist you in completing the sheet, examples of the cases that belong under ach case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,

its counsel, or both to sanctions under rules 2.30 and 3.220 of the Califomia Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case"
in a sum stated to be certain that is not more than $25,000, exciusi
property, services, or money was acquired on credit. A collections case
damages, (2) punitive damages, (3) recove
attachment. The identification of a case as

time-for-service requirements and case management rules, unless a defendant files a

case will be subject to the requirements for service and obtaining a judgment in rule 3.

under rule 3.740 is defined as an action for recovery of money awed
ive of interest and attorney's fees, arising from a transaction in which
does not include an action seeking the following: (1) tort

ry of reai property, (4) recovery of personal property, or (5) a prejudgment writ of

a Tule 3.740 collections case on this form means that it will be exempt from the general

responsive pleading. A rule 3.740 collections

To Parties in Complex Cases. tn complex cases only, parties must also use the Civil Case Cover Sheet to designate wheather the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by

completing the appropriate boxes in items 1 and 2. Ifa
complaint on all parties to the action. A defendant ma
plaintiffs designation, a counter-designation that the

plaintiff designates a case as complex, the cover sheet must be served with the
y file and serve no later than the time of its first appearance a joinder in the
case is not compiex, or, if the plaintiff has made no designation, a designation that

 

 

the case is complex. CASE TYPES AND EXAMPLES
Auto Tort Contract Provisionally Complex Civil Litigation (Cal.
Auto (22)-Personal Injury/Property Breach of ContractWarranty (06) Rules of Court Rules 3.400-3.403)
Da I Death Breach of Rentalease Antitrust/Trade Regulation (03)
Uninsured Motorist (46) (if the Contract (not unlawful detainer Construction Defect (10)
case involves an uninsured or wrongful eviction) Claims Involving Mass Tort (40)
motorist claim subject to Contract/Warranty Breach-Seller Securities Litigation (28)
arbitration, check this item Plaintiff (not fraud or negiigence) Environmental/Toxic Tort (30)
instead of Auto) Negtgent Breach of Contract/ insurance Coverage Claims
Other PHPD/WD (Peraonal injury! rranty (arising from provisionally complex
Property Damage/Wrongful Death) Other Breach of Contract/Warranty case type sted above) (41)
Tort Collections (e.g., money cwed, open Enforcement of Judgment
Asbestos (04) book accounts) (09) Enforcement of Judgment (20)
Asbestos Property Damage Collection Case-Selter Plaintiff Abstract of Judgment (Out of
Asbestos Personal Injury! Other Promissory Note/Cotlections ' County)
Wrongful Death Case Confession of Judgment (non-
Product Liability (not asbestos or Insurance Coverage (not provisionally domestic relations)
toxic/environmental) (24) complex) (18) Sister State Judgment
Medical Malpractice (45) Auto Subrogation Administrative Agency Award
Medical Malpractice— Other Coverage (not unpaid taxes)
Physicians & Surgeons Other Contract (37) Petition/Certification of Entry of
Other Professional Health Care Contractual Fraud Judgment on Unpaid Taxes
Malpractice Other Contract Dispute Other Enforcement of Judgment
Other PYPDAWD (23) Real Property Case
Premises Liability (e.g., slip Eminent Oomain/inverse Miscellaneous Civi! Complaint
and fi) Wersenedeen ey: RICO Cop! im (not
t Injury/PD: . Other aim (not specified
mene . coeaclt says “lism Other Real Property (e.g., quiet title) (26) above) (42)
Intentional Infliction of Writ of Possession of Real Property Declaratory Relief Onty
Emotional Distress Mortgage Foreclosure injunctive Relief Only (non-
Negligent infliction of Quiet Title harassment)
Emotional Distress Other Real Property (not eminent Mechanics Lien
Other P/PD/WD domain, landiordAenant, or Other Commercial Complaint
Non-PI/PD/WD (Other} Tort foreciosure} Case (non-tortfnor-compiex)
Business Tort/Unfair Business Unlawful Detainer Other Civil Complaint
Practice (07) Rosdenta (2). (nomtortivon-complex)
il Ri .Q., discrimination, v . Miscellaneous Poti
ce laerodh (not civil Drugs (38) (if the case involves illegal Partnership and Corporate
harassment) (08) drugs, check this tem; otherwise, Governance (21)
Defamation (e.g., slander, libel) report as Commercial or Residential) Other Petition (not specified
(13) Judicial Review above} (43)
Fraud (16) Asset Forfeiture {05) Civil Harassment
Intellectual Property (19) Petition Re: Arbitration Award (11) Workplace Violence
Professional Negligence (25) Writ of Mandate (02) Elder/Dependent Adult
Legal Malpractice Writ-—Administrative Mandamus Abuse
Other Professional Malpractice Writ-Mandamus on Limited Court Election Contest
(not medical or legal} Case Matter Petition for Name Change
Other Non-P/PD/WD Tort (35) ee enon Limited Court Case Patton for Retief From Late
im
em Niongtd Termination (36) Other Judicial Review (39) Other Civil Petition
Other Employment (15) Review of Health Officer Order
Notice of Appeal—Labor
Commissioner Appeals
CM-010 fRev. September 1, 2021} CIVIL CASE COVER SHEET Page Zof 2
Case.2;23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 15 of 47 | Page ID #:15

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Clio N UI Luk, Uy b. ¥

HAtiad Le puty Aoi

 

| SHORT TITLE

Lotte Global Logistics Co., Ltd. v. One Way Only Trans, Inc. et al.

CASE NUMBER

 

2338TCY¥YO6B443

 

CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

| This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

 

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.

 

Applicable Reasons for Choosing Courthouse Location (Column C)

 

1. — Class Actions must be filed in the Stanley Mosk Courthouse, Central District. 7. Location where petitianer resides.

 

2. Permissive fillng in Central District.

8. Location wherein defendant/respondent

functions wholly.

 

3. Location where cause of action arose.

9. Location where one or more of the parties reside.

 

4. Location where bodily injury, death or dam

age occurred. 10. Location of Labor Commissioner Office.

 

 

 

6. Location of property or permanently garaged vehicle.

non-collection, timited collection).

 

5. Lacation where performance required, or defendant resides. 11. Mandatory filing location (Hub Cases — unlawful detainer, limited

 

 

 

 

   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

—
Auto { 2) Ch 2201 Motor Vehicle: Personal njury/Property Damage Wrongful 7

E Death

-

£ Uninsured Motorist | (1 4601 Uninsured Motorist — Personal Injury/Property 1,4

< (46) Damage/Wrongful Death

Other Personal {] 2301 Premise Liability (e.g., dangerous conditions of property, 1,4

z injury/ Property slip/trip and fall, dog attack, etc.)

es Damage/ Wrongful

© 8 Death (23) C) 2302 Intentional Bodily Injury/Property Damage/Wrongful Death 1,4

= a (e.g., assault, battery, vandalism, etc.)

c

= : C1 2303 Intentional infliction of Emotional Distress 1,4

‘so

§ = 1 2304 Other Personal injury/Property Damage/Wrongful Death 1,4

& oD a

é E C) 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing 1,4

g6 Facility

6 (1 2306 Intentional Conduct ~ Sexual Abuse Case {in any form) 1,4
LASC CIV 109 Rev. 01/23 CIVIL CASE COVER SHEET ADDENDUM LASC Local Rule 2.3
For Mandatory Use AND STATEMENT OF LOCATION

AM
Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 16 of 47 Page ID #:16

 

{ SHORT TITLE

[Lotte Global Logistics Co., Ltd. v. One Way Only Trans, Inc. et al.

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C} 2307 Construction Accidents 7 ‘L, 4
QO) 2368 Landlord ~ Tenant Habltability (e.g., bed bugs, mold, etc.) 1,4
>. Product Liability (24) | (> 2404 product Liability (not asbestos or toxic/ environmental) 1,4 =
Bos a 1,3,5
= E a [} 2402 Product Liability — Song-Beverly Consumer Warranty Act (CA aw
5 a z Civil Code §§1790-1795.8) (Lemon Law)
: i 8 Medical on O) 4501 Medical Malpractice — Physicians & Surgeons 1,4
“ (1 4502 Other Professional Health Care Malpractice 1,4
= Business Tort (07) | ( 0701 Other Commercial/Business Tort (not fraud or breach of 1, 2,3
s contract) :
3 & S Civil Rights (08) C) 0803 Civil Rights/Discrimination 1,2,3
8 & ® .| Defamation(13) | C1 1301 Defamation (slander/libel) 1, 2,3
¢ > § e Fraud (16) C] 1601 Fraud {no contract) 1, 2,3
Ss 2 a qeitessional C1 2501 Legal Malpractice 1, 2,3
~ & gligence (25) O 2502 Other Professional Malpractice (not medical or legal) 1, 2,3
5 Other (35) 3501 Other Non-Personal Injury/Property Damage Tort 1, 2,3
“ Wrongful C) 3601 Wrongful Termination 1, 2,3
2 Termination (36)
a Other ee O 1501 Other Employment Complaint Case 1, 2,3
= O) 1502 Labor Commissioner Appeals 10
Breach of Contract / | C] 0601 Breach of Rental/Lease Contract (not unlawful detainer or 2,5
Warranty (06) wrongful eviction)
{not insurance) C] 0602 Contract/Warranty Breach - Seller Plaintiff (no 2,5
fraud/negligence)
(1 0603 Negligent Breach of Contract/Warranty (no fraud) 1,2,5
CO 0604 Other Breach of Contract/Warranty (no fraud/ negligence} 1,2,5
8 CO) 0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt) 2,5
& Collections (09) (4 0901 Collections Case — Seller Plaintiff 5,6, 11
€ 0862 Other Promissory Note/Collections Case 5,11
C 0903 Collections Case - Purchased Debt (charged off consumer debt 5,6, 11
purchased on or after January 1, 2014)
1 0904 Collections Case —- COVID-19 Rental Debt 5, 11
1 0 1801 Insurance Coverage (not complex) 1, 2,5,8 |
1

 

 

LASC CIV 109 Rev. 01/23
For Mandatory Use

CIVIL CASE COVER SHEET ADDENDUM
AND STATEMENT OF LOCATION

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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23

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SHORT TITLE CASE NUMBER
Lotte Global Logistics Co., Ltd. v. One Way Only Trans, Inc. et al.
“us Other Contract (37) | () 3701 Contractual Fraud 1, 2, 3, 5
§ 2 (1 3702 Tortious interference 1, 2, 3,5
8 5 [ 3703 Other Contract Dispute (not breach/insurance/fraud/ 1, 2,3, 8,9
_ negligence)
Eminent Domain/ | 0 1401 Eminent Domain/Condemnation 2,6
Number of Parcels
z Condemnation (14)
G Wrongful Eviction | (2 3301 Wrongful Eviction Case 2,6
S
= 1 2601 Mortgage Foreclosure 2,6
e Property (26) [ 2602 Quiet Title 2,6
C) 2603 Other Real Property (not eminent domain, 2,6
fandlord/tenant, foreclosure}
Unlawful Detainer | 0 3101 Unlawful Detainer — Commercial (not drugs or wrongful 6,11
5 — Commercial (31) | eviction)
= Uniawful Detainer | 0 3201 Unlawful Detainer — Residential (not drugs or wrongful 6,14
3 — Residential (32) | eviction)
3 Unlawful Detainer | 1 3401 Unlawful Detainer — Post Foreclosure 2,6,11
3 ~ Post Foreclosure
‘c
° Unlawful Detainer | 1 3801 Unlawful Detainer — Drugs 2,6, 11
— Drugs (38)
Asset Forfeiture C) 0501 Asset Forfeiture Case 2, 3,6
0 1101 Petition to Compel/Confirm/Vacate Arbitration 2,5
Arbitration (11)
3 Writ of Mandate | O 0201 Writ — Administrative Mandamus 2,8
>
e O 0202 Writ - Mandamus on Limited Court Case Matter 2
s [ 0203 Writ — Other Limited Court Case Review 2
3 Other Judicial | () 3901 Other Writ/Judicial Review 2,8
Review (39}
[) 3902 Administrative Hearing 2,8
1 3903 Parking Appeal 2,8
> Antitrust/Trade QO 0301 Antitrust/Trade Regulation 1, 2, 8
3 5 5 Regulation (03)
ars Asbestos (04) (© 0401 Asbestos Property Damage 1,11
3Os
Eos C) 0402 Asbestos Personal Injury/Wrongful Death 1,11
sao}

 

 

 

 

 

LASC CIV 109 Rev. 01/23

For Mandatory Use

CIVIL CASE COVER SHEET ADDENDUM
AND STATEMENT OF LOCATION

LASC Local Rule 2.3

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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 18 of 47 Page ID #:18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT TITLE CASE NUMBER
Lotte Globai Logistics Co., Lid. v. One Way Only Trans, Inc. et al.
Construction [) 1001 Construction Defect : 1, 2, 3
x“ Defect (10)
= Claims Involving O 4001 Claims Involving Mass Tort 1,2,8
E _ Mass Tort (40)
Z s g Securities Litigation | G 2801 Securities Litigation Case 1, 2,8
Bh: (28)
s§238 Toxic Tort O 3001 Toxic Tort/Environmental 1, 2, 3,8
—_ onl “oot
2 Environmental (30)
gE Insurance Coverage | (J 4101 Insurance Coverage/Subrogation (complex case only) 1,2,5,8
Claims from
Complex Case (41)
Enforcement of | [) 2001 Sister State Judgment 2,5, 11
5 Judgment (20)
ge 0 2002 Abstract of Judgment 2,6
oo
E & O1 2004 Administrative Agency Award (not unpaid taxes) 2,8
=
2 = 2005 Petition/Certificate for Entry of Judgment Unpaid Tax 2,8
Las
[) 2006 Other Enforcement of Judgment Case 2, 8,9
= RICO (27) (2 2701 Racketeering (RICO) Case 1, 2,8
2
S a Other Complaints | 0 4201 Declaratory Relief Only 1,2,8
~ af
3 (not specified 1 4202 injunctive Relief Only (not domestic/harassment) 2,8
£6 above} (42)
= E © 4203 Other Commercial Complaint Case (non- i, 2,8
30 tort/noncomplex)
2 CO) 4204 Other Civil Complaint (non-tort/non-complex) 1, 2,8
Partnership O 2101 Partnership and Corporation Governance Case 2,8
wn Corporation
5 Governance (21)
3 Other Petitions (1 4301 Civil Harassment with Damages 2,3,9
a wpe
= (not specified 4302 Workplace Harassment with Damages 2,3,9
& above) (43)
¥ O 4303 Elder/Dependent Adult Abuse Case with Damages 2, 3,9
3 0 4304 Election Contest 2
= (3 4305 Petition for Change of Name/Change of Gender 2,7
2 | C1 4306 Petition for Relief from Late Claim Law 2, 3,8
(1 4307 Other Civil Petition 2,9
LASC CIV 109 Rev. 01/23 CIVIL CASE COVER SHEET ADDENDUM LASC Local Rule 2.3
For Mandatory Use AND STATEMENT OF LOCATION

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Case 2:23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 19 0f47 Page ID

at

 

 

—_—_ ee une
' | SHORT TITLE CASE NUMBER

| Lotte Global Logistics Co., Lid. v. One Way Only Trans, inc. et al. L. |

 

 

 

 

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action Cases.)

 

 

 

 

 

 

 

 

‘REASON: SO -—TADDRESS: “6001 Tet a
4. Wade ¢ q 0D | 6001 Telegraph Rd,
11.0203.040506070809000n Commarea Seen RS, |
city: ~ | STATE: | ZIP CODE.
Commerce | California g0040 | - _

Step 5: Certification of Assignment: | certify that this case is Properly filed in the Stanley Mosk Courthouse

District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)} ,

? / so
Dated: 03/22/2023 = <td Lf =

(SIGNATURE OF ATTORN EV/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

1. Original Complaint or Petition.

If filing a Complaint, a completed Summons form for issuance by the Clerk,

Civil Case Cover Sheet Judicial Council form CM-010.

Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).

Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments,
A signed order appointing a Guardian ad Litem, Judicial Council form CIV-0108, if the plaintiff or

Av eww

case
LASC CIV 109 Rev. 01/23 CIVIL CASE COVER SHEET ADDENDUM LASC Local Rule 2.3
For Mandatory Use AND STATEMENT OF LOCATION

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Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 20 o0f 47 Page ID #:20

 

 

 

UNLIMITED CIVIL CASE

SUPERIOR COURT OF CALIFORNIA eearvad torn rae Sz=n
COUNTY OF LOS ANGELES
. COURTHOUSE ADDRESS. FILED
Stanley Mosk Courthouse Superior Cour of Cattoriia
111 North Hill Street, Los Angeles, CA 90012 unty of Los Angeles
93/23/2023
NOTICE OF CASE ASSIGNMENT Chad W. Sitytat, Executive Othcer Chek of Court
by Wika Deputy

 

CASE NUMBER:

 

Your case is assigned for all purposes to the judicial officer indicated below. | 23STCV06443

 

 

THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

 

 

ASSIGNED JUDGE

DEPT

 

| Barbara A. Meiers

 

 

 

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ROOM Be

 

ASSIGNED JUDGE DEPT

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Given to the Plaintiff/Cross-Complainant/Attomey of Record David W. Slayton, Executive Officer / Clerk of Court

on 03/23/2023
(Date)

By D. Williams

LACIV 190 (Rev 6/18} NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE

LASC Approved 05/06

, Deputy Clerk

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Case 2:23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 210f47 Page ID #:21

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within {5 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions

Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases

Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.

Laciv 190 (Revers) NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE Ado

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2019-GEN-014-00

FILED

Saperior Court of California
County of Los Angeles

MAY 03 2019
Sherri  Exgeutive Officer/Clerk
By se_.. Deputy
finda Mina
SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF LOS ANGELES

IN RE LOS ANGELES SUPERIOR COURT
~~ MANDATORY ELECTRONIC FILING
FOR CIVIL

FIRST AMENDED GENERAL ORDER

 

On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
All electronically filed documents in Limited and Non-Complex Unlimited cases are Subject to the
following:

1) DEFINITIONS

a) “Bookmark” A bookmark is a PDF document navigational tool that allows the reader to
quickly locate and navigate to a designated point of interest within a document.

b) “Efiling Portal’ The official court website includes a webpage, referred to as the efiling
portal, that gives litigants access to the approved Electronic Filing Service Providers.

c) “Electronic Envelope” A transaction through the electronic service provider for submission
of documents to the Court for processing which may contain one or more PDF documents
attached.

d) “Electronic Filing” Electronic Filing (eFiling) is the electronic transmission to a Court of a

document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

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2019-GEN-014-00

“Electronic Filing Service Provider” An Electronic Filing Service Provider (EFSP) is a
person or entity that receives an electronic filing from a party for retransmission to the Court.
In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

“Electronic Signature” For purposes of these local rules and in conformity with Code of
Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
(b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
2.257, the term “Electronic Signature” is generally defined as an electronic sound, symbol, or
process attached to or logically associated with an electronic record and executed or adopted
by a person with the intent to sign the electronic record.

“Hyperlink” An electronic link providing direct access from one distinctively marked place
in a hypertext or hypermedia document to another in the same or different document.
“Portable Document Format” A digital document format that preserves all fonts,

formatting, colors and graphics of the original source document, regardless of the application

platform used.

2) MANDATORY ELECTRONIC FILING

Trial Court Records

Pursuant to Government Code section 68150, trial court records may be created, maintained,
and preserved in electronic format. Any document that the Court receives electronically must
be clerically processed and must satisfy all legal filing requirements in order to be filed as an
official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
Represented Litigants

Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
electronically file documents with the Court through an approved EFSP.

Public Notice

The Court has issued a Public Notice with effective dates the Court required parties to
electronically file documents through one or more approved EFSPs. Public Notices containing

effective dates and the list of EFSPs are available on the Court’s website, at www.lacourt.org.

2
FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

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2019-GEN-014-00

d) Documents in Related Cases

Documents in related cases must be electronically filed in the eFiling portal for that case type if
electronic filing has been implemented in that case type, regardless of whether the case has
been related to a Civil case.

3) EXEMPT LITIGANTS

a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
from mandatory electronic filing requirements.

b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
from filing documents electronically and be permitted to file documents by conventional
means if the party shows undue hardship or significant prejudice.

4) EXEMPT FILINGS

a) The following documents shall not be filed electronically:

i)  Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
Civil Procedure sections 170.6 or 170.3;

il) Bonds/Undertaking documents;

ili) Trial and Evidentiary Hearing Exhibits

iv) Any ex parte application that is filed concurrently with a new complaint including those
that will be handled by a Writs and Receivers department in the Mosk courthouse; and

v) Documents submitted conditionally under seal. The actual motion or application shall be
electronically filed. A courtesy copy of the electronically filed motion or application to
submit documents conditionally under seal must be provided with the documents
submitted conditionally under seal.

b) Lodgments
Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

paper form. The actual document entitled, “Notice of Lodgment,” shall be filed electronically.
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3
FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL A 2 3

 

 

 
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2019-GEN-014-00

5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
Electronic filing service providers must obtain and manage registration information for persons
and entities electronically filing with the court.

6) TECHNICAL REQUIREMENTS

Electronic documents must be electronically filed in PDF, text searchable format when
technologically feasible without impairment of the document's image.

The table of contents for any filing must be bookmarked.

Electronic documents, including but not limited to, declarations, proofs of service, and
exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
bookedmarked item and briefly describe the item.

Attachments to primary documents must be bookmarked. Examples include, but are not
limited to, the following:

i) Depositions;

ii) Declarations;

iii) Exhibits (including exhibits to declarations);

iv) Transcripts (including excerpts within transcripts);

v) Points and Authorities;

vi) Citations; and

vii) Supporting Briefs.

Use of hyperlinks within documents (including attachments and exhibits) is strongly
encouraged.

Accompanying Documents

Each document acompanying a single pleading must be electronically filed as a separate
digital PDF document.

Multiple Documents

Multiple documents relating to one case can be uploaded in one envelope transaction.

4
FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

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h) Writs and Abstracts

Writs and Abstracts must be submitted as a separate electronic envelope.
i) Sealed Documents

If and when a judicial officer orders documents to be filed under seal, those documents must be

filed electronically (unless exempted under paragraph 4); the burden of accurately designating

the documents as sealed at the time of electronic submission is the submitting party’s
responsibility.
j) Redaction
Pursuant to California Rules of Court, rule 1.201, it is the submitting party’s responsibility to
redact confidential information (such as using initials for names of minors, using the last four
digits of a social security number, and using the year for date of birth) so that the information
shall not be publicly displayed.
7) ELECTRONIC FILING SCHEDULE
a) Filed Date

i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
shall be deemed to have been effectively filed on that court day if accepted for filing. Any
document received electronically on a non-court day, is deemed to have been effectively
filed on the next court day if accepted. (California Rules of Court, rule 2.253(0)(6); Code
Civ. Proc. § 1010.6(b6)(3).)

ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
course because of: (1) an interruption in service; (2) a transmission error that is not the
fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
order, either on its own motion or by noticed motion submitted with a declaration for Court
consideration, that the document be deemed filed and/or that the document’s filing date
conform to the attempted transmission date.

8) EX PARTE APPLICATIONS
a) Ex parte applications and all documents in support thereof must be electronically filed no later

than 10:00 a.m. the court day before the ex parte hearing.

 

5
FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

 

 

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b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
day of the ex parte hearing. A printed courtesy copy of any Opposition to an ex parte
application must be provided to the court the day of the ex parte hearing.

9) PRINTED COURTESY COPIES

a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
by 10:00 a.m. the next business day.

b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
electronic submission) is required for the following documents:

i) Any printed document required pursuant to a Standing or General Order:
ii) Pleadings and motions (including attachments such as declarations and exhibits) of 26
pages or more;
iii) Pleadings and motions that include points and authorities;
iv) Demurrers;
v)  Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
vi) Motions for Summary Judgment/Adjudication; and
vii) Motions to Compel Further Discovery.

c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
additional documents. Courtroom specific courtesy copy guidelines can be found at
www. lacourt.org on the Civil webpage under “Courtroom Information.”

10) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

 

a) Fees and costs associated with electronic filing must be waived for any litigant who has
received a fee waiver. (California Rules of Court, rules 2.253(b)Q, 2.258(b), Code Civ. Proc, §
1010.6(d)(2).)

b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

electronically filed in any authorized action or proceeding.

6
FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

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11) SIGNATURES ON ELECTRONIC FILING

For purposes of this General Order, all electronic filings must be in compliance with California
Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
Division of the Los Angeles County Superior Court.

This First Amended General Order supersedes any previous order related to electronic filing,
and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

Supervising Judge and/or Presiding Judge.

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KEVIN C. BRAZILE
Presiding Judge

DATED: May 3, 2019

 

 

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FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL

 

 

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Superior Court of California, County of Los Angeles

   
   

 

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THE PLAINTIFF MUST SERVE THIS ADR INFORMATION|

CROSS-COMPLAINANTS must serve this ADR
with the cross-complaint. see TE

 

 

 

What is ADR?

ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
« Saves Time: ADR is faster than going to trial.
* Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
¢ Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
e Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
¢ Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
¢ No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR

1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

Mediation may be approprlate when the parties

¢ want to work out a solution but need help from a neutral person.

e have communication problems or strong emotions that interfere with resolution.
Mediation may not be appropriate when the parties

¢ want a public trial and want a judge or jury to decide the outcome,

¢ lack equal bargaining power or have a history of physical/emotional abuse.

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For Mandatory Use Page 1 of 2

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How to Arrange Mediation in Los Angeles County

Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

a. The Civil Mediation Vendor Resource List

If all parties in an active civil case agree to mediation, they may contact these organizations

to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
cases).

¢ ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
(949) 863-9800

¢ Mediation Center of Los Angeles Program Manager info@mediationLA.org
(833) 476-9145

These organizations cannot accept every case and they may decline cases at their discretion. They may
offer online mediation by video conference for cases they accept. Before contacting these organizations,
review important information and FAQs at www.lacourt.org/ADR.Res.List

NOTE: The Civil Mediation Vendor Resource List program doesnot accept family law, probate or small
claims cases.

b. Los Angeles County Dispute Resolution Programs
https://hre.lacounty.gov/wp-content/uploads/ 2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1. pdf

Day of trial mediation programs have been paused until further notice.

Online Dispute Resolution (ODR). Partiesin small claims and unlawful detainer {eviction) cases
should carefully review the Notice and other information they may receive about (ODR)
requirements for their case.

c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator's
decision is final; there is no right to trial. in “nonbinding" arbitration, any party can request a
trial after the arbitrator’sdecision. For more information about arbitration, visit
http://www.courts.ca.gov/programs-adr.htm

4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
officer who does not make a decision but who instead assists the parties in evaluating the strengths and
weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm

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Superior Court of California
County of Los Angeles

 

Los Angeles County
Bar Association
Litigation Section

Los Angeles County
Bar Association Labor and
Employment Law Section

 

Consumer Attorneys
Association of Los Angeles

 

Southern California
Defense Counsel

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Business Trial Lawyers

  

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Lawyers Association

  

LACIV 230 (NEW)
LASC Approved 4-11

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

 

The Early Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations:
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a
manner that promotes economic case resolution and judicial
efficiency.

The following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to
promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section?

® Los Angeles County Bar Association
Labor and Employment Law Section?

Consumer Attorneys Association of Los Angeles @
Southern California Defense Counsel @
Association of Business Trial Lawyers

California Employment Lawyers Association

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Case 2:23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 32 0f 47 Page ID #:32

 

TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

NAME AND ADORESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Reserved for Gark’s File Slamp

 

 

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

COURTHOUSE ADDRESS;

 

| PLAINTIFF:

 

DEFENDANT:

 

 

STIPULATION —- EARLY ORGANIZATIONAL MEETING

CASE NUMBER:

 

 

 

This stipulation is intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties in efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initial conference (in-person or via teleconference or via
videoconference) within 15 days from the date this stipulation is signed, fo discuss and consider
whether there can be agreement on the following:

a.

Are motions to challenge the pleadings necessary? If the issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could an amended
complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
agree to work through pleading issues so that a demurrer need only raise issues they cannot
resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or information by any party cure an uncertainty in the pleadings?

initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct in question could be considered “core.” In a personal injury case, an incident or
police report, medical records, and repair or maintenance records could be considered
“core.”);

Exchange of names and contact information of witnesses:

Any insurance agreement that may be available to satisfy part or all of a judgment, or to
indemnify or reimburse for payments made to satisfy a judgment;

Exchange of any other information that might be helpful to facilitate understanding, handling,
or resolution of the case in a manner that preserves objections or privileges by agreement;

Controlling issues of law that, if resolved early, will promote efficiency and economy in other
phases of the case. Also, when and how such issues can be presented to the Court;

Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal issues is reasonably required to make settlement discussions meaningful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

 

LACIV 229 (Rev 02/15)

LASC Approved 04/11 STIPULATION — EARLY ORGANIZATIONAL MEETING
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SHORT TITLE: (CASE NUMBER:

 

 

 

discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
complaint;

h. Computation of damages, including documents, not privileged or protected from disclosure, on
which such computation is based;

i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
www.lacourt.org under “CiviP and then under “General Information’).

2. The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint, and for the cross-
(INSERT DATE) (INSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil’,
click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

 

3. The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
results of their meet and confer and advising the Court of any way it may assist the parties’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
the Case Management Conference statement, and file the documents when the CMC
statement is due.

4, References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
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_ (TYPE OR PRINT NAME) ~ (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )

 

 

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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER
TELEPHONE NO.: FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

COURTHOUSE ADDRESS:

 

PLAINTIFF:

 

 

DEFENDANT:

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STIPULATION — DISCOVERY RESOLUTION

 

CASE NUMBER:

 

 

This stipulation is intended to provide a fast and informal resolution of discovery issues
through limited paperwork and an informal conference with the Court to aid in the

resolution of the issues.

The parties agree that:

1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informal Discovery Conference pursuant

to the terms of this stipulation.

2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
and determine whether it can be resolved informally. Nothing set forth herein will preclude a
party from making a record at the conclusion of an Informal Discovery Conference, either

orally or in writing.

3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
presented, a party may request an Informal Discovery Conference pursuant to the following

procedures:

a. The party requesting the Informal Discovery Conference will:

i. File a Request for Informal Discovery Conference with the clerk’s office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the

assigned department;

ii. Include a brief summary of the dispute and specify the relief requested; and

iii. | Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for Informal Discovery
Conference no later than the next court day following the filing.

b. Any Answer to a Request for Informal Discovery Conference must:

i. Also be filed on the approved form (copy attached);

ii. Include a brief summary of why the requested relief should be denied;

 

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iii. Be filed within two (2) court days of receipt of the Request; and

iv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the Opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. If the Court acts on the Request, the parties will be notified whether the
Request for Informal Discovery Conference has been granted or denied and, if granted,
the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for Informal Discovery Conference.

e. If the conference is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the parties and the
Court, then the Request for the Informal Discovery Conference shall be deemed to have
been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making -a motion to compel or other
discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

It is the understanding and intent of the parties that this Stipulation shall, for each discovery
dispute to which it applies, constitute a writing memorializing a “specific later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

 

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| SHORT TITLE: CASE NUMBER: ]

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date:
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(TYPE OR PRINT NAME) {ATTORNEY FOR PLAINTIFF)
Date:
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(TYPE OR PRINT NAME) {ATTORNEY FOR DEFENDANT}
Date:
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(TYPE OR PRINT NAME} (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) {ATTORNEY FOR DEFENDANT)
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:

TELEPHONE NO.:
E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name):

 

STATE BAR NUMBER

 

FAX NO. (Optional):

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

 

COURTHOUSE ADDRESS:

 

PLAINTIFF:

 

DEFENDANT:

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INFORMAL DISCOVERY CONFERENCE
(pursuant to the Discovery Resolution Stipulation of the Parties)

 

CASE NUMBER;

 

 

1. This document relates to:

CJ Request for Informal Discovery Conference

CJ Answer to Request for Informal Discovery Conference
2. Deadline for Court to decide on Request:

the Request).

3. Deadline for Court to hold Informal Discovery Conference:

days following filing of the Request).

{insert date 10 calendar days following filing of

(insert date 20 calendar

4. For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, including the facts and legal arguments at issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny

the requested discovery, including the facts and legal arguments at issue.

 

 

 

LACIV 084 (new) INFORMAL DISCOVERY CONFERENCE
(pursuant to the Discovery Resolution Stipulation of the parties)

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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY: STATE BAR NUMBER Reverved for Clerk's Fila Stamp

 

 

TELEPHONE NO.: FAX NO, (Optional):
E-MAIL AODRESS (Optional):
ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

 

 

 

PLAINTIFF:

 

DEFENDANT:

 

CASE NUMBER:

 

STIPULATION AND ORDER ~ MOTIONS IN LIMINE

 

 

 

This stipulation is intended to provide fast and informal resolution of evidentiary
issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1. At least days before the final status conference, each party will provide ali other
parties with a list containing a one paragraph explanation of each proposed motion in
limine. Each one paragraph explanation must identify the substance of a single proposed
motion in limine and the grounds for the proposed motion.

2. The parties thereafter will meet and confer, either in person or via teleconference or
videoconference, concerning all proposed motions in limine. In that meet and confer, the
parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. If the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of
issues.

3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the California
Rules of Court and the Los Angeles Superior Court Rules.

 

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LASC Approved 04/11 STIPULATION AND ORDER — MOTIONS IN LIMINE A
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— CASE NUMBER:
The following parties stipulate:
Date:

(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
| (TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT )
Date:

(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:

(TYPE OR PRINT NAME) {ATTORNEY FOR DEFENDANT)
Date:

(TYPE OR PRINT NAME) {ATTORNEY FOR )
Date:

(TYPE OR PRINT NAME) {ATTORNEY FOR )
Date:
a (TYPE OR PRINT NAME) (ATTORNEY FOR )
THE COURT SO ORDERS.

Date:
JUDICIAL OFFICER

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LASC Approved 04/11

STIPULATION AND ORDER — MOTIONS IN LIMINE Pegerot2 | 2%
Case 2:23-cv-03558-ODW-AS Document1 Filed 05/10/23 Page 40 of 47 Page ID #:40

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LOS ANGELES SUPERIOR COURT

MAY 11 2011
JOHN A, CLARKE, CLERK
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

General Order Re
Use of Voluntary Efficient Litigation
Stipulations

ORDER PURSUANT TO CCP 1054(a),
EXTENDING TIME TO RESPOND BY
30 DAYS WHEN PARTIES AGREE
TO EARLY ORGANIZATIONAL
MEETING STIPULATION

 

Whereas the Los Angeles Superior Court and the Executive Committee of the
Litigation Section of the Los Angeles County Bar Association have cooperated in
drafting “Voluntary Efficient Litigation Stipulations” and in proposing the stipulations for
use in general jurisdiction civil litigation in Los Angeles County;

Whereas the Los Angeles County Bar Association Litigation Section; the Los
Angeles County Bar Association Labor and Employment Law Section; the Consumer
Attorneys Association of Los Angeles; the Association of Southern California Defense
Counsel; the Association of Business Trial Lawyers of Los Angeles; and the Califomia
Employment Lawyers Association all “endorse the goal of promoting efficiency in
litigation, and ask that counsel consider using these stipulations as a voluntary way to
promote communications and procedures among counsel and with the court to fairly

resolve issues in their cases;”

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ORDER PURSUANT TO CCP 1054(a)

 

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Whereas the Early Organizational Meeting Stipulation is intended to encourage
cooperation among the parties at an early stage in litigation in order to achieve
litigation efficiencies;

Whereas it is intended that use of the Early Organizational Meeting Stipulation
will promote economic case resolution and judicial efficiency;

Whereas, in order to promote a meaningful discussion of pleading issues at the
Early Organizational Meeting and potentially to reduce the need for motions to
challenge the pleadings, it is necessary to allow additional time to conduct the Early
Organizational Meeting before the time to respond to a complaint or cross complaint
has expired;

Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in
which an action is pending to extend for not more than 30 days the time to respond to
a pleading “upon good cause shown",

Now, therefore, this Court hereby finds that there is good cause to extend for 30
days the time to respond to a complaint or to a cross complaint in any action in which
the parties have entered into the Early Organizational Meeting Stipulation. This finding
of good cause is based on the anticipated judicial efficiency and benefits of economic
case resolution that the Early Organizational Meeting Stipulation is intended to
promote.

IT 1S HEREBY ORDERED that, in any case in which the parties have entered
into an Early Organizational Meeting Stipulation, the time for a defending party to

respond to a complaint or cross complaint shall be extended by the 30 days permitted

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ORDER PURSUANT TO CCP 1054(a)

 

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by Code of Civil Procedure section 1054(a) without further need of a specific court

order.

DATED: My Lo! | (hd $ fa Me

Carolyn B. Kuhl’ \f Supervising | Judge of the
Civil Departments, Los Angeles Superior Court

 

 

 

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ORDER PURSUANT TO CCP 1054(a)

 

 

 
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EXHIBIT B
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FRANK X. DIPOLITO (137157)

ROSS I. LANDAU (259260)

SWAIN & DIPOLITO LLP

879 W. 190°? Street Suite 305

Gardena, California 90248

Telephone: (310) 715-1338

Facsimile: (310) 715-1404

E-mail: fdipolito@swaindipolito.com
rlandau@swaindipolito.com

Attorneys for Defendant,
STPW INC.
SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES - STANLEY MOSK COURTHOUSE

LOTTE GLOBAL LOGISTICS CoO., LTD.,
a Korean corporation,

Case No. 23STCV06443

Honorable Barbara A.
Meiers
Dept. 12

Plaintiff,
vs.

ONE WAY ONLY TRANS, INC.,; STPW
INC.; OMI TRUCK PARKING FACILITIES,
INC.; and DOES 1 THROUGH 10,
inclusive,

NOTICE OF REMOVAL OF CASE
TO FEDERAL COURT

Defendants.

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant STPW INC. filed a Notice
of Removal of Civil Action in the United States District Court
for the Central District of California based on 28 U.S.C. §§
1331, 1337, 1441, and 1446, and that a copy of said Notice of
Removal of Civil Action is on file with the above-captioned
court. A copy of said Notice of Removal is attached hereto as
Exhibit "A."

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Notice of Removal of Case to Federal Court 42

 
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1 PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C.
2) Section 1446(d), the filing of said Notice of Removal of Civil
3) Action in the United States District Court, together with the

4) filing of a copy of said Notice of Removal of Civil Action with
5 this Court,

effects the removal of this action, and this Court

6| may proceed no further unless and until the case is remanded.

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DATED: May 4, 2023 SWAIN & DIPOLT Yr LLP

 
  

10 By:
11 Attorneys fg:
| STPW INC.

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Notice of Removal of Case to Federal Court

 

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DECLARATION OF SERVICE

I, the undersigned, certify and declare as follows:

I am employed in the County of Los Angeles, State of
California and am over the age of eighteen and not a party to
this action. My business address is 879 W. 190% Street, Suite
305, Gardena, California 90248.

On May 10, 2023, I served the foregoing NOTICE OF REMOVAL OF
CASE TO FEDERAL COURT as follows:

[ ] via electronic filing to:

[ ] by personal delivery of a true copy thereof to:

(¥] by placing a true copy thereof enclosed in a sealed

envelope with postage thereon fully prepaid in the
United States mail at Gardena, California, addressed as
| follows:
Sook H. Lee, Esq.
LAW OFFICES OF SOOK H. LEE
6565 N. MacArthur Blvd., Suite 225
Irving, Texas 75039

[¥v] (State) I declare under penalty of perjury under the laws
of the State of California that the foregoing is true and correct.

L ] (Federal) I declare that I am employed in the office of
| a member of the bar of this court at whose direction the service
was made.

Executed on May 10, 2023, in Gardena, California.

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Victoria Mathis

 

 

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Case 2:23-cv-03558-ODW-AS Document 1 Filed 05/10/23 Page 47 of 47 Page ID #:47

DECLARATION OF SERVICE

I, the undersigned, certify and declare as follows:

I am employed in the County of Los Angeles, State of
California and am over the age of eighteen and not a party to
this action. My business address is 879 W. 190° Street, Suite
305, Gardena, California 90248.

On May 10, 2023, I served the foregoing NOTICE OF REMOVAL OF
CIVIL ACTION as follows:

[ ] via electronic filing to:

[ ] by personal delivery of a true copy thereof to:

[¥] by placing a true copy thereof enclosed in a sealed

envelope with postage thereon fully prepaid in the
United States mail at Gardena, California, addressed as
follows:
Sook H. Lee, Esq.
LAW OFFICES OF SOOK H. LEE
6565 N. MacArthur Blvd., Suite 225
Irving, Texas 75039

f ] (State) I declare under penalty of perjury under the laws
of the State of California that the foregoing is true and correct.

iv] (Federal) I declare that I am employed in the office of
a member of the bar of this court at whose direction the service
was made.

Executed on May 10, 2023, in Gardena, California.

Victoria Mathis

 

 

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